        Case 2:16-cv-02983-JJT Document 48 Filed 06/09/17 Page 1 of 2



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12   Experian Information Solutions, Inc.
13
                               UNITED STATES DISTRICT COURT
14
15                             FOR THE DISTRICT OF ARIZONA

16
17   RaeAnn Patton,                               Case No.: 2:16-cv-02983-PHX-JJT
18                Plaintiff,                       STIPULATION FOR DISMISSAL OF
           vs.                                     EXPERIAN INFORMATION
19                                                 SOLUTIONS, INC. WITH
     Sterling Jewelers, Inc.; Springleaf           PREJUDICE
20   Financial Services, Inc.; and Experian
     Solutions, Inc.,
21
22
23
            Plaintiff RaeAnn Patton (“Plaintiff”) through her attorneys, Price Law Group APC,
24
     and Defendant Experian Information Solutions, Inc. (“Experian”), by and through its
25
26   attorneys, Dessaules Law Group and Jones Day, hereby stipulate to dismiss Plaintiff’s
27
28
                                                                        STIPULATION FOR DIMISSAL
                                               -1-
        Case 2:16-cv-02983-JJT Document 48 Filed 06/09/17 Page 2 of 2



1    claims against Experian with prejudice pursuant to Rule 41(a)(2), with each party to bear
2
     its own costs and attorneys’ fees.
3
4
5    DATED: June 9, 2017                            PRICE LAW GROUP, APC

6                                                  By: /s/ Stuart M. Price              .
                                                   Stuart M. Price
7                                                  Attorneys for Plaintiff
8                                                  Raeann Patton

9
     DATED: June 9, 2017                            JONES DAY
10
11                                                  By: /s/ Jennifer Sun
                                                    Jennifer Sun
12                                                  Attorneys for Defendant
13                                                  Experian Information Solutions, Inc.

14
15
16                               CERTIFICATE OF SERVICE

17          I hereby certify that on June 9, 2017, I electronically transmitted the foregoing
18
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
19
     Notice of Electronic Filing to the foregoing CM/ECF registrants:
20
21
22   /s/ Sandra Padilla
23
24
25
26
27
28
                                                                             STIPULATION FOR DIMISSAL
                                                 -2-
